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5                             UNITED STATES DISTRICT COURT
6                                      DISTRICT OF NEVADA
7
8     UNITED STATES OF AMERICA,                               2:09-CR-477-KJD(RJJ)
9            Plaintiff,
10    v.
                                                              ORDER OF FORFEITURE
11    GAIL BILYEU
12           Defendant.
13
            On June 8, 2010 (Docket #33), Defendant GAIL BILYEU pled guilty to all Counts of a
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     Seven Count Criminal Indictment charging her in Count One with Conspiracy to Commit Wire
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     Fraud and Mail Fraud in violation of Title 18, United States Code, Section 1341, 1343 and 1349,
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     and charging her in Counts Two through Seven with Wire Fraud in violation of Title 18, United
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     States Code, Sections 1343 and 1349.
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            The Court finds that proceeds obtained directly or indirectly from the crimes of conviction
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     total $2,654,000 and orders that GAIL BILYEU shall pay a criminal forfeiture money judgment in
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     that amount payable in United States Currency to the United States of America, pursuant to Fed. R.
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     Crim. P. 32.2(b)(4)(A) and (B); Title 18, United States Code 981(a)(1)(C) and Title 28, United
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     States Code, Section 2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21,
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     United States Code, Section 853(p).
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            Set off is not required for amounts recouped by the lending institution. U.S. v. Boulware,
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     384 F.3d 794, (9th Cir. 2004), U.S. v. Huber, 404 F.3d 1047, (8th Cir. 2005); U.S. v. Pelullo, 961
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     F. Supp 159 (D.N.J. 1997), reconsideration denied 971 F.Supp.159, motion to vacate denied 5
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1    F.Supp. 2d 285, affirmed 185 F3d 863, cert. denied, 528 U.S. 1096, denial of post conviction relief
2    affirmed and remanded 399 F.3d 197, as amended, cert. denied 126 S.Ct. 1141.
3           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
4    United States recover from GALE BILYEU a criminal forfeiture money judgment in the amount of
5    $2,654,000.00 in United States Currency.
6                   DATED: February 8, 2011.
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8                                                 UNITED STATES DISTRICT JUDGE
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